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                                                                       August 9, 2017

BY ECF

Hon. Gregory H. Woods
United States District Judge
Daniel Patrick Moynihan
  United States Courthouse
500 Pearl Street, Room 2260
New York, New York 10007

                  Zayas v. Yamco II, LLC & Blossom Restaurant & Cafe Inc.
                            Case Number: 1:17-cv-2647-GHW-SN

Dear Judge Woods:

         This office represents the plaintiff in the above referenced action. Pursuant to the Notice
of Initial Pretrial Conference, we submit this joint letter.

1.       A brief statement of the nature of the case, the principal claims and defenses, and
the major legal and factual issues that are most important to resolving the case, whether by
trial, settlement or dispositive motion

       Plaintiff, who is paralyzed, uses a wheelchair. Defendant Blossom Restaurant & Cafe Inc.
operates a small, vegan restaurant in a 107-year-old Landmark building located in the Chelsea
Historic District, renting its premises from co-defendant Yamco II LLC.

       This is a case under Title III of the Americans with Disabilities Act, 42 U.S.C. § 12182
(ADA) and its New York State and City counterparts involving wheelchair access to defendants’
premises, primarily involving an entranceway.



The parties agree that this case can be resolved with relatively minor modifications for
wheelchair access, many of which are already in place (portable ramp, double-wide alternate
entranceway, buzzer for assistance for access etc.). Because small businesses are involved, and
because the premises are a Landmark building in a Historic District in an old building, the
amount of readily-achievable “barrier removal” alterations on may be limited. The parties
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believe that the plaintiff’s objectives can be satisfied without the necessity of full involvement
with litigation. TtTherefore the parties are in accord that early settlement should be a priority in
this case, and will attempt to settle this case within the following 2 weeks. If we are
unsuccessful, parties have agreed to referral to a Magistrate Judge for settlement purposes.

2.     A brief statement by plaintiff as to the basis of subject matter jurisdiction and
venue, and a brief statement by each party as to the presence or absence of subject matter
jurisdiction and venue. Statements shall include citations to relevant statutes. In addition,
in cases for which subject matter jurisdiction is founded on diversity of citizenship, the
parties shall comply with the Court’s Individual Rule 2(B)(ii).

         The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the
claims in this case arises under the Americans with Disabilities Act, 42 U.S.C. § 12117. The
Court also has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331 and 1343, as this
action involves federal questions regarding the deprivation of Plaintiff's rights under the
Americans with Disabilities Act. The Court has supplemental jurisdiction over Plaintiff’s
allegations arising from Defendants’ state and local law violations pursuant to 28 U.S.C. §
1367(a).

        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a substantial part
of the events or omissions giving rise to this action, alleged herein, occurred in New York
County.


3. A brief description of any (i) motions that any party seeks or intends to file, including the
principal legal and other grounds in support of and opposition to the motion, (ii) pending
motions, and (iii) other applications that are expected to be made at the status conference;

        Parties hereby respectfully request a referral to mediation before a Magistrate Judge. If
the court first prefers our appearance at the initial conference, we intend to make application at
the status conference for referral of the case to mediation before a Magistrate Judge, and for
postponement of other proceedings pending same.

       In the even mediation is unsuccessful, plaintiff may seek class certification, which
defendants would oppose on multiple grounds.


4. A brief description of any discovery that has already taken place, and any discovery that
is likely to be admissible under the Federal Rules of Evidence and material to proof of
claims and defenses raised in the pleadings. (This is narrower than the general scope of
discovery stated in Rule 26(b)(1)); a

       No discovery has taken place. Pursuant to the Federal Rules of Evidence, Rules 602 and
701, Plaintiff intends to seek discovery to demonstrate defendants’ disability discrimination and
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unlawful architectural barriers in violation of federal, state, and local laws. In addition, pursuant
to 803 and 806, Plaintiff intends to attack defendants’ agent’s credibility related to its
compliance with federal, state, and local laws.

       At this time, plaintiff has not yet decided whether expert evidence will be necessary.

       Defendants believe that minimal discovery would be necessary to assay plaintiff’s
standing. Most discovery can be achieved via a Requests for Documents and inspection of the
premises, which are open to the public, and can be conducted. Defendants would provide access
on reasonable notice.


5. A computation of each category of damages claimed, see Fed. R. Civ. P. 26(a)(1)(A)(iii);

      Plaintiff has alleged compensatory, statutory, and punitive damages. The compensatory
damages are recoverable under New York State Executive law and New York City
Administrative Code. Statutory damages are recoverable under and New York State Civil Rights
Law 40-c and 40-d.

       Pursuant to New York State Civil Rights Law 40-c and 40-d, Plaintiff seeks $500 for
each and every civil rights violation.

         Under New York State Executive Law and New York City Administrative Code, plaintiff
seeks compensatory damages in the amount of $20,000. Lastly, in an amount to be determined at
trial, plaintiff seeks punitive damages against defendants for their reckless disregard of plaintiff’s
civil and human rights under New York City Administrative Code.

       Defendants dispute this.


6. A statement describing the status of any settlement discussions and whether the parties
would like a settlement conference;

       The parties have discussed settlement in the form of possible measures, to the extent
achievable, to enhance plaintiff’s access, in addition to an existing portable ramp, buzzer and
double-wide auxiliary entranceway. Defendants have agreed to provide signage to assist plaintiff
and others. Defendants have agreed to provide personal assistance to plaintiff so that he can fully
use and enjoy the Blossom Restaurant. The parties have agreed to early mediation via Magistrate
Judge.
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7. Any other information the parties believe may assist the Court in resolving the action.

         It is in the parties’ interest to achieve an early resolution and to avoid as much actual
litigation as possible, as otherwise, mounting legal fees would make settlement more
problematic.


                                       Respectfully yours,

                                       /s/ James E Bahamonde

                                       James E. Bahamonde, Esq.


cc: (via ECF)

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